Case 0:24-cv-61337-AHS Document 9 Entered on FLSD Docket 09/18/2024 Page 1 of 14




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    Case No: 0:24-cv-61337-AHS

  SANDRA CARDONA,

          Plaintiff,
  vs.

  NUTRITION FORMULATORS INC.,
  and EMPLOYMENT SOLUTIONS OF
  NEW YORK, INC.,

         Defendants.
  _______________________________/

              DEFENDANT NUTRITION FORMULATORS INC.’S ANSWER AND
                 AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

         Defendant, Nutrition Formulators Inc. (“NFI” or “Defendant”), by and through

  undersigned counsel, hereby respectfully files the following Answer and Affirmative Defenses to

  Plaintiff Sandra Cardona’s (“Plaintiff”) Complaint, and states as follows:

                                         INTRODUCTION

         1.      Admitted that Plaintiff is female. All other allegations are denied.

         2.      Admitted that Plaintiff purports to bring this action pursuant to Title VII and the

  FCRA. All other allegations are denied.

                                              PARTIES

         3.      Unknown and therefore denied.

         4.      Admitted.

         5.      Unknown and therefore denied.

         6.      Unknown and therefore denied.

                                             Page 1 of 14
Case 0:24-cv-61337-AHS Document 9 Entered on FLSD Docket 09/18/2024 Page 2 of 14




         7.     Calls for a legal conclusion and therefore denied.

         8.     Unknown what Plaintiff deems “all times material.” Denied.

         9.     Unknown as to Defendant ESNY and therefore denied. Admitted that Defendant

  NF employs fifteen (15) or more employees.

         10.    Denied.

         11.    Denied.

         12.    Denied.

                                 JURISDICTION AND VENUE

         13.    Admitted that jurisdiction is proper. All other allegations are denied.

         14.    Admitted that venue is proper. All other allegations are denied.

                            ADMINISTRATIVE PREREQUISITES

         15.    Unknown and therefore denied.

         16.    Unknown and therefore denied.

         17.    Unknown and therefore denied.

         18.    Unknown and therefore denied.

                                  FACTUAL ALLEGATIONS

         19.    Plaintiff’s complete background is unknown and therefore denied.

         20.    Denied.

         21.    Denied.

         22.    Denied.

         23.    Denied.

         24.    Denied.

         25.    Denied.



                                            Page 2 of 14
Case 0:24-cv-61337-AHS Document 9 Entered on FLSD Docket 09/18/2024 Page 3 of 14




        26.   Denied.

        27.   Denied.

        28.   Denied.

        29.   Unknown and therefore denied.

        30.   Denied.

        31.   Denied.

        32.   Denied.

        33.   Denied.

        34.   Denied.

        35.   Denied.

        36.   Denied.

        37.   Denied.

        38.   Denied.

        39.   Denied.

        40.   Denied.

        41.   Denied.

        42.   Denied.

        43.   Denied.

        44.   Denied.

        45.   Denied.

        46.   Denied.

        47.   Denied.

        48.   Denied.



                                       Page 3 of 14
Case 0:24-cv-61337-AHS Document 9 Entered on FLSD Docket 09/18/2024 Page 4 of 14




        49.   Denied.

        50.   Denied.

        51.   Denied.

        52.   Denied.

        53.   Denied.

        54.   Denied.

        55.   Denied.

        56.   Denied.

        57.   Denied.

        58.   Denied.

        59.   Denied.

        60.   Denied.

        61.   Denied.

        62.   Denied.

        63.   Denied.

        64.   Denied.

        65.   Denied.

        66.   Denied.

        67.   Denied.

        68.   Denied.

        69.   Denied.

        70.   Denied.

        71.   Denied.



                                   Page 4 of 14
Case 0:24-cv-61337-AHS Document 9 Entered on FLSD Docket 09/18/2024 Page 5 of 14




         72.     Denied.

         73.     Denied.

         74.     Denied.

         75.     Denied.

         76.     Denied.

         77.     Denied.

         78.     Denied.

         79.     Denied.

                                       CAUSES OF ACTION
                                               COUNT I
                                         42 U.S.C. § 2000e-2
                                          Sex Discrimination
                                (Plaintiff as Against All Defendants)

         80.     Defendant reincorporates its responses to paragraphs 19 through 79 above.

         81.     This paragraph is a statement of law; therefore, no response is required. To the

  extent this alleges infers liability or wrongdoing by Defendant, the allegations are denied.

         82.     This paragraph is a statement of law; therefore, no response is required. To the

  extent this allegation infers liability or wrongdoing by Defendant, the allegations are denied.

         83.     Admitted.

         84.     This paragraph is a statement of law; therefore, no response is required. To the

  extent this allegation infers liability or wrongdoing by Defendant, the allegations are denied.

         85.     Denied.

         86.     Denied.

         87.     Denied.

         88.     Denied.



                                             Page 5 of 14
Case 0:24-cv-61337-AHS Document 9 Entered on FLSD Docket 09/18/2024 Page 6 of 14




         89.     Denied.

         90.     Denied.

         91.     Denied.

         92.     Denied.

                                              COUNT II
                                         42 U.S.C. § 2000e-2
                                   National Origin Discrimination
                                (Plaintiff as Against All Defendants)

         93.     Defendant reincorporates its responses to paragraphs 19 through 79 above.

         94.     This paragraph is a statement of law; therefore, no response is required. To the

  extent this allegation infers liability or wrongdoing by the Defendant, the allegations are denied.

         95.      This paragraph is a statement of law; therefore, no response is required. To the

  extent this allegation infers liability or wrongdoing by the Defendant, the allegations are denied.

         96.     Unknown and therefore denied.

         97.     This paragraph is a statement of law; therefore, no response is required. To the

  extent this allegation infers liability or wrongdoing by the Defendant, the allegations are denied.

         98.     Denied.

         99.     Denied.

         100.    Denied.

         101.    Denied.

         102.    Denied.

         103.    Denied.

         104.    Denied.

         105.    Denied.




                                             Page 6 of 14
Case 0:24-cv-61337-AHS Document 9 Entered on FLSD Docket 09/18/2024 Page 7 of 14




                                               COUNT III
                                          42 U.S.C. § 2000e-2
                                      Hostile Work Environment
                                 (Plaintiff as Against All Defendants)

            106.   Defendant reincorporates its responses to paragraphs 19 through 79 above.

            107.   This paragraph is a statement of law; therefore, no response is required. To the

  extent this allegation infers any liability or wrongdoing by the Defendant, the allegations are

  denied.

            108.   This paragraph is a statement of law; therefore, no response is required. To the

  extent this allegation infers any liability or wrongdoing by the Defendant, the allegations are

  denied.

            109.   Unknown and therefore denied.

            110.   Denied.

            111.   Denied.

            112.   Denied.

            113.   Denied.

            114.   Denied.

            115.   Denied.

            116.   Denied.

            117.   Denied.

            118.   Denied.

            119.   Denied.

            120.   Denied.




                                             Page 7 of 14
Case 0:24-cv-61337-AHS Document 9 Entered on FLSD Docket 09/18/2024 Page 8 of 14




                                               COUNT IV
                                          42 U.S.C. § 2000e-3
                                               Retaliation
                                 (Plaintiff as Against All Defendants)

            121.   Defendant reincorporates its responses to paragraphs 19 through 79 above.

            122.   This paragraph is a statement of law; therefore, no response is required. To the

  extent these allegations infer any liability or wrongdoing by the Defendant, the allegations are

  denied.

            123.   Admitted.

            124.   Unknown and therefore denied.

            125.   Denied.

            126.   Denied.

            127.   Denied.

            128.   Denied.

            129.   Denied.

            130.   Denied.

            131.   Denied.

            132.   Denied.

            133.   Denied.

            134.   Denied.

                                               COUNT V
                                         § 760.10(1), Fla. Stat.
                                           Sex Discrimination
                                 (Plaintiff as Against All Defendants)

            135.   Defendant reincorporates its responses to paragraphs 19 through 79 above.




                                             Page 8 of 14
Case 0:24-cv-61337-AHS Document 9 Entered on FLSD Docket 09/18/2024 Page 9 of 14




            136.   This paragraph is a statement of law; therefore, no response is required. To the

  extent these allegations infer any liability or wrongdoing by the Defendant, the allegations are

  denied.

            137.   Admitted.

            138.   This paragraph is a statement of law; therefore, no response is required. To the

  extent these allegations infer any liability or wrongdoing by the Defendant, the allegations are

  denied.

            139.   Denied.

            140.   Denied.

            141.   Denied.

            142.   Denied.

            143.   Denied.

            144.   Denied.

            145.   Denied.

            146.   Denied.



                                               COUNT VI
                                         § 760.10(1), Fla. Stat.
                                    National Origin Discrimination
                                 (Plaintiff as Against All Defendants)

            147.   Defendant reincorporates its responses to paragraphs 19 through 9 above.

            148.   This paragraph is a statement of law; therefore, no response is required. To the

  extent these allegations infer any liability or wrongdoing by the Defendant, the allegations are

  denied.

            149.   Unknown and therefore denied.

                                             Page 9 of 14
Case 0:24-cv-61337-AHS Document 9 Entered on FLSD Docket 09/18/2024 Page 10 of 14




            150.   This paragraph is a statement of law; therefore, no response is required. To the

  extent these allegations infer any liability or wrongdoing by the Defendant, the allegations are

  denied.

            151.   Denied.

            152.   Denied.

            153.   Denied.

            154.   Denied.

            155.   Denied.

            156.   Denied.

            157.   Denied.

            158.   Denied.

                                              COUNT VII
                                         § 760.10(1), Fla. Stat.
                                      Hostile Work Environment
                                 (Plaintiff as Against All Defendants)

            159.   Defendant reincorporates its responses to paragraphs 19 to 79 above.

            160.   This paragraph is a statement of law; therefore, no response is required. To the

  extent these allegations infer any liability or wrongdoing by the Defendant, the allegations are

  denied.

            161.   Admitted.

            162.   Unknown and therefore denied.

            163.   Denied.

            164.   Denied.

            165.   Denied.

            166.   Denied.

                                             Page 10 of 14
Case 0:24-cv-61337-AHS Document 9 Entered on FLSD Docket 09/18/2024 Page 11 of 14




            167.   Denied.

            168.   Denied.

            169.   Denied.

            170.   Denied.

            171.   Denied.

            172.   Denied.

            173.   Denied.



                                              COUNT VIII
                                         § 760.10(7), Fla. Stat.
                                               Retaliation
                                 (Plaintiff as Against All Defendants)

            174.   Defendant reincorporates its responses to paragraphs 19 through 79 above.

            175.   This paragraph is a statement of law; therefore, no response is required. To the

  extent these allegations infer any liability or wrongdoing by the Defendant, the allegations are

  denied.

            176.   Admitted.

            177.   Unknown and therefore denied.

            178.   Denied.

            179.   Denied.

            180.   Denied.

            181.   Denied.

            182.   Denied.

            183.   Denied.

            184.   Denied.

                                             Page 11 of 14
Case 0:24-cv-61337-AHS Document 9 Entered on FLSD Docket 09/18/2024 Page 12 of 14




            185.    Denied.

            186.    Denied.

            187.    Denied.

                                              JURY DEMAND

            Defendant admits that Plaintiff is demanding a jury trial on all issues so triable.

                                          PRAYER FOR RELIEF

            Defendant denies that Plaintiff is entitled to any of the relief sought in Plaintiff’s prayer for

  relief.

                                            GENERAL DENIAL

            Defendant denies each and every allegation of Plaintiff’s Complaint to the extent not

  expressly admitted.

                               AFFIRMATIVE AND OTHER DEFENSES


            1.      Plaintiff’s damages, if any, must be reduced, in whole or in part, to the extent that
  discovery reveals Plaintiff failed to take reasonable steps to mitigate the alleged damages.
  Plaintiff’s interim earnings or amounts she could have earned with reasonable diligence should
  reduce any back pay and front pay otherwise recoverable by her. In addition, such sums may also
  set-off and reduce other claims for damages alleged by Plaintiff.
            2.      Plaintiff’s claims fail, in whole or in part, because all actions of Defendant were in
  good faith, with good cause, without retaliation or discriminatory motive, malice, or intent to
  discriminate, and were based on legitimate, non-discriminatory and non-retaliatory grounds.
            3.      Plaintiff’s claims are barred for a failure to exhaust administrative remedies and
  satisfying all conditions precedent to bringing this action.
            4.      Defendant expressly denies that Defendant, or any employee under its supervision,
  acted in a manner that violated Plaintiff’s rights. Assuming arguendo that Plaintiff’s rights were
  violated by Defendant’s employee, such violation occurred outside the scope of employment and
  without Defendant’s consent.


                                                Page 12 of 14
Case 0:24-cv-61337-AHS Document 9 Entered on FLSD Docket 09/18/2024 Page 13 of 14




         5.      Defendant is entitled to the affirmative defense announced in Faragher v. City of
  Boca Raton, 118 S. Ct. 2275 (1998) and Burlington Industries, Inc. v. Ellerth, 118 S. Ct. 2257
  (1998) because it exercised reasonable care to prevent and promptly correct any retaliatory and/or
  discriminatory behavior, and Plaintiff unreasonably failed to take advantage of any corrective
  opportunities provided by Defendant or to otherwise avoid harm.
         6.      To the extent Plaintiff has received benefits from collateral sources or other set offs
  or recoupments, Plaintiff’s claims should be diminished accordingly.
         7.      Plaintiff’s claims may be subject to the doctrine of after-acquired evidence.
         8.      Plaintiff has failed to state a claim upon which relief can be granted.
         9.      Neither Plaintiff’s protected class, nor the fact that she allegedly engaged in
  protected activity were the “but for” or motivating factors in the decision to separate her
  relationship with Defendant.
         10.     Plaintiff’s hostile work environment claims fail because she was not subjected to
  objectively severe or pervasive harassment, nor did any such alleged harassment culminate in a
  tangible employment action.
         11.     Plaintiff’s claims are barred, in whole or in part, to the extent the claims alleged
  exceed the scope of her administrative Charge of Discrimination.
         12.     Any decision concerning Plaintiff was not based on discrimination and/or
  retaliation; yet, even if it was (and it was not), Defendant would have reached the same decision
  absent any alleged discriminatory and/or retaliatory motive.
         13.     To the extent that any of the individuals alleged to have discriminated and/or
  retaliated against Plaintiff engaged in any of the conduct alleged in the Complaint, or otherwise
  acted in a manner that violated Plaintiff’s rights and/or caused her harm, which Defendant denies,
  such actions were outside the scope of such individuals’ employment, were contrary to the policies
  and directives of Defendant, and were not done in furtherance of Defendant’s business interests.
         14.     Plaintiff is not entitled to recover any compensatory, general, or punitive damages
  because neither Defendant nor any of its officers, directors, managing agents, managers, members,
  or employees committed any knowing, wanton, intentional, recklessly indifferent, or malicious
  act, and because Defendant did not authorize or ratify any such act.
         15.     Some or all of Plaintiff’s claims may be barred by the applicable statute of
  limitations.

                                             Page 13 of 14
Case 0:24-cv-61337-AHS Document 9 Entered on FLSD Docket 09/18/2024 Page 14 of 14




         16.     Some or all of Plaintiff’s claims may be barred by the by the doctrine of estoppel,
  waiver, unclean hands, and/or laches.



                                   RESERVATION OF RIGHTS

         Defendant reserves the right to amend its Defenses as the course of investigation and
  discovery warrants.

                                    CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that on September 10, 2024, the foregoing document was served
  this day on all counsel of record or pro se parties identified on the below Service List in the manner
  specified, either via transmission of Notice of Electronic Filing generated by CM/ECF or in some
  other authorized manner for those counsel or parties who are not authorized to receive
  electronically Notices of Electronic Filing.
                                                        Respectfully submitted,

                                                             By: /s/ Jorge Freddy Perera
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                                             Page 14 of 14
